     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 1 of 9 Page ID #:9321




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     MICHAEL JOHN AVENATTI
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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10               Plaintiff,                        DEFENDANT’S OBJECTIONS TO THE
                                                   PROPOSED INTRODUCTORY JURY
11                      v.                         INSTRUCTIONS
12   MICHAEL JOHN AVENATTI,
13               Defendant.
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16         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17   counsel of record, H. Dean Steward, hereby files the Defendant’s Objections to the
18   Proposed Introductory Jury Instructions and objects to the Court’s draft jury instructions.
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20    Dated: July 15, 2021                     Respectfully submitted,
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                                              /s/ H. Dean Steward
22                                             H. DEAN STEWARD
23                                             Attorney for Defendant
                                               MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 2 of 9 Page ID #:9322




 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2      I.       INTRODUCTION
 3            On May 13, the government filed the “government’s filing of parties’ proposed
 4   jury instructions.” [Dkt. 454]. On May 24, 2021, the government filed joint proposed
 5   jury instructions. [Dkt. 468]. These filings both included agreed upon instructions, the
 6   Defendant’s requested instructions, the government’s requested instructions and
 7   corresponding objections. [Dkt. 468]. On June 30, 2021, the Court provided the parties
 8   with a copy of the Court’s draft, initial instructions. The Court indicated it would
 9   conduct a settling conference prior to the initial instructions. On the afternoon of July 14,
10   2021, the Court stated it planned to discuss the instructions the next morning on July 15,
11   2021. Mr. Avenatti submits this filing in advance of that conference.
12           Based upon the foregoing, Mr. Avenatti objects to the following initial instructions.
13   Mr. Avenatti reserves the right to lodge additional objections to any instructions to be
14   used throughout the remainder of the trial.
15      II.      ARGUMENT
16            A. Mr. Avenatti Objects to Any Instructions Regarding the California Bar
17               Rules and, In the Alternative, Proposes Revised Instructions
18            On May 13, 2021 and May 24, 2021, the government filed its proposed jury
19   instructions as it relates to the California Bar Rules. [Dkt. 454, 468]. The defense lodged
20   its objections to these instructions. [Dkt. 468, p. 21]. The Court’s draft initial instructions
21   have modified the government’s proposal. Mr. Avenatti renews his objection to any
22   instructions on the California Bar Rules of Professional Conduct and any other ethics
23   rules as it relates to his role as an attorney.
24            The California Rules of Professional Conduct and ethics rules, and testimony and
25   jury instructions about them, are not relevant in this case and should be excluded. The
26   criminal action before the Court is not an attorney grievance proceeding where Mr.
27   Avenatti is charged with violating his duties under the Rules of Professional Conduct or
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 3 of 9 Page ID #:9323




 1   other ethical rules or standards. Whether Mr. Avenatti did or did not violate his ethical
 2   duties or ethical obligations to his clients is irrelevant as to whether he committed
 3   criminal acts under the federal criminal statutes. See People v. Stein, 94 Cal.App. 3d 235,
 4   239 (1979)(“trial court committed reversible error by instructing the jury on the
 5   California State Bar Rules of Professional Conduct”).1 Moreover, allowing jury
 6   instructions concerning the Rules of Professional Conduct creates an unnecessary and
 7   prejudicial risk that the jury will convict Mr. Avenatti based in whole or in part on a
 8   finding that they believe he violated a Rule of Professional Conduct.
 9            Indeed, instructing the jury as the Court proposes creates a far different, lower
10   standard for the jury to use to determine whether Mr. Avenatti violated the federal
11   criminal statutes and will effectively direct a verdict against Mr. Avenatti for violating
12   his ethical duties as opposed to violating any federal criminal statute. This is error. Mr.
13   Avenatti is entitled to have his conduct determined by the jury in this case under the
14   exact same standards that would be used for any other non-attorney defendant.
15   Interjecting the Rules of Professional Conduct into the trial in this case, especially in the
16   jury instructions, is fraught with problems and increases the likelihood of reversible
17   error.
18            The only set of circumstances under which the rules are relevant and perhaps
19   proper to place before the jury involves cases where the lawyer defendant affirmatively
20   seeks to use his reliance on the rules as a defense. In such cases, the lawyer places the
21   rules and standards at issue because he seeks to explain acts that he undertook by
22   offering evidence of his obligations under the rules of professional responsibility, in
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24     In Stein, an attorney was found guilty of grand theft by means of embezzlement based
     upon shortages in his attorney-client trust account. During the trial, the trial court
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     instructed jurors on the California State Rules of Professional Conduct. The Court of
26   Appeal reversed the conviction and found that it was “improper to use the professional
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     rules of conduct to show that a violation of the rules, if any, would tend to prove that
     defendant possessed the specific intent required…” Id. at 239.
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 4 of 9 Page ID #:9324




 1   order to negate criminal intent. Here, however, Mr. Avenatti does not intend to present
 2   evidence of ethics rules nor claim that any particular act was motivated by his
 3   understanding of a particular California Rule of Professional Conduct.
 4         Further, the very first rule of the California Rules of Professional Conduct makes
 5   clear that “A violation of the rule does not itself give rise to a cause of action for
 6   damages caused by failure to comply with the rule. Nothing in these rules or the
 7   Comments to the rules is intended to enlarge or to restrict the law regarding the liability
 8   of lawyers to others.” See Rule 1.0, titled “Purpose and Function of the Rules of
 9   Professional Conduct,” at (b)(3). While this is generally applied in connection with
10   prohibiting civil liability based on the rules in an attorney malpractice case, it is even
11   more true as it relates to prohibiting criminal liability founded in whole or in part on
12   violation of a rule. Thus, the alleged violation of any rule of professional conduct or
13   professional standard by Mr. Avenatti is entirely irrelevant as to whether he is guilty of
14   any of the charges as alleged by the government.
15         Accordingly, Mr. Avenatti hereby objects to any and all jury instructions in the
16   Court’s proposed instructions concerning the rules of professional conduct or any ethics
17   standards as they are irrelevant to the charges in this case.
18         In the event the Court overrules Mr. Avenatti’s above objections, Mr. Avenatti
19   asks that the Court provide initial jury instructions that include only the exact language
20   of the potentially applicable Rules. Several of the Court’s proposed instructions relate to
21   ethical duties and obligations owed from an attorney to a client that are inapplicable to
22   this case, prejudicial and will likely confuse the jurors. See United States v. Dove, 916
23   F.2d 41, 45(2d Cir. 1990)(holding that it is the trial court’s duty to give balanced jury
24   instructions and failure to provide proper jury instructions may result in retrial);
25   Gilbrook v. City of Westminster, 177 F.3d 839 (9th Cir. 1999)(“jury instructions must be
26   formulated so that they fairly and adequately cover the issues presented, correctly state
27   the law and are not misleading.”); Gracie v. Gracie, 217 F.3d 1060, 1067 (9th Cir.
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 5 of 9 Page ID #:9325




 1   2000)(jury instructions may not be misleading or confusing, inadequately guide jury
 2   deliberations, or improperly intrude on the fact finding process). These include: the duty
 3   to protect the information and property of his clients and keep such information or
 4   property safe so that it was not lost or misused; the obligations of an attorney if a
 5   lawyer’s representation of a client was terminated; and the general duty of loyalty and
 6   fair dealings, etc.
 7           Accordingly, Mr. Avenatti respectfully requests that the following instruction be
 8   used in lieu of the draft instruction:
 9           “You should keep in mind that proof that the defendant violated one or more of
10   the duties he owned his legal clients under California law does not necessarily mean that
11   defendant is guilty of the charged offenses of wire fraud. You may, however, consider
12   whether the defendant violated the duties he owed the alleged client-victims under
13   California law when evaluating whether the government has proven the elements of the
14   offense, including whether the defendant engaged in a scheme to defraud, whether the
15   statements made or facts omitted as part of the scheme were material, whether the
16   defendant acted with the intent to defraud, and whether the defendant had a duty to
17   disclose an omitted fact arising out of a relationship of trust. Ultimately, you will be
18   asked to determine whether the defendant violated the law – not whether he
19   violated his ethical obligations.
20           Duty of Communicate Settlement:2 (a) A lawyer shall promptly communicate to
21   the lawyer’s client: (1) all terms and conditions of a proposed plea bargain or other
22   dispositive offer made to the client in a criminal matter; and (2) all amounts, terms, and
23   conditions of any written offer of settlement made to the client in all other matters. (b)
24   As used in this rule, “client” includes a person who possesses the authority to accept an
25   offer of settlement or plea, or, in a class action, all the named representatives of the class.
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28       California Rule of Professional Conduct 1.4.1 – Communication of Settlement Offers.
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 6 of 9 Page ID #:9326




 1         Duty of Safekeeping Funds and Property of Clients or Other Persons:3 (a) All
 2   funds received or held by a lawyer or law firm for the benefit of a client, or other person
 3   to whom the lawyer owes a contractual, statutory, or other legal duty, including advances
 4   for fees, costs and expenses, shall be deposited in one or more identifiable bank accounts
 5   labeled “Trust Account” or words of similar import, maintained in the State of
 6   California, or, with written consent of the client, in any other jurisdiction where there is a
 7   substantial relationship between the client or the client’s business and the other
 8   jurisdiction. (b) Notwithstanding paragraph (a), a flat fee paid in advance for legal
 9   services may be deposited in a lawyer’s or law firm’s operating account, provided: (1)
10   the lawyer or law firm discloses to the client in writing (i) that the client has a right
11   under paragraph (a) to require that the flat fee be deposited in an identified trust account
12   until the fee is earned, and (ii) that the client is entitled to a refund of any amount of the
13   fee that has not been earned in the event the representation is terminated or the services
14   for which the fee has been paid are not completed; and (2) if the flat fee exceeds
15   $1,000.00, the client’s agreement to deposit the flat fee in the lawyer’s operating account
16   and the disclosures required by paragraph (b)(1) are set forth in a writing signed by the
17   client. Funds belonging to the lawyer or the law firm shall not be deposited or otherwise
18   commingled with funds held in a trust account except: (1) funds reasonably sufficient to
19   pay bank charges; and (2) funds belonging in part to a client or other person and in part
20   presently or potentially to the lawyer or the law firm, in which case the portion
21   belonging to the lawyer or law firm must be withdrawn at the earliest reasonable time
22   after the lawyer or law firm’s interest in that portion becomes fixed. However, if a client
23   or other person disputes the lawyer or law firm’s right to receive a portion of trust funds,
24   the disputed portion shall not be withdrawn until the dispute is finally resolved. (d) A
25   lawyer shall: (1) promptly notify a client or other person of the receipt of funds,
26   securities, or other property in which the lawyer knows or reasonably should know*the
27   3
      California Rule of Professional Conduct 1.15 – Safekeeping Funds and Property of
28   Clients and Other Persons
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 7 of 9 Page ID #:9327




 1   client or other person has an interest; (2) identify and label securities and properties of a
 2   client or other person promptly upon receipt and place them in a safe deposit box or
 3   other place of safekeeping as soon as practicable; (3) maintain complete records of all
 4   funds, securities, and other property of a client or other person coming into the
 5   possession of the lawyer or law firm; (4) promptly account in writing to the client or
 6   other person for whom the lawyer holds funds or property; (5) preserve records of all
 7   funds and property held by a lawyer or law firm under this rule for a period of no less
 8   than five years after final appropriate distribution of such funds or property; (6) comply
 9   with any order for an audit of such records issued pursuant to the Rules of Procedure of
10   the State Bar; and (7) promptly distribute, as requested by the client or other person, any
11   undisputed funds or property in the possession of the lawyer or law firm that the client or
12   other person is entitled to receive. (e) The Board of Trustees of the State Bar shall have
13   the authority to formulate and adopt standards as to what “records” shall be maintained
14   by lawyers and law firms in accordance with paragraph (d)(3). The standards formulated
15   and adopted by the Board, as from time to time amended, shall be effective and binding
16   on all lawyers.”
17         B. Mr. Avenatti Renews his Objections as to Other Introductory Instructions
18         On May 13, 2021 the government filed the “government’s filing of parties’
19   proposed jury instructions.” [Dkt. 454]. On May 24, 2021, the government filed joint
20   proposed jury instructions. [Dkt. 468]. These filings both included agreed upon
21   instructions, the Defendant’s requested instructions, the government’s requested
22   instructions and corresponding objections. [Dkt. 468]. Mr. Avenatti renews each of his
23   objections and requests for additional instructions as specified in both the May 13, 2021
24   and May 24, 2021 filings. [Dkt. 454, 468].
25      III.   CONCLUSION
26         Based upon the foregoing, Mr. Avenatti renews his objections to the Court’s
27   proposed introductory jury instructions.
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 8 of 9 Page ID #:9328




 1    Dated: July 15, 2021                 Respectfully submitted,
 2
                                          /s/ H. Dean Steward
 3                                         H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 539 Filed 07/15/21 Page 9 of 9 Page ID #:9329




 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5   92660. I am not a party to the above-entitled action. I have caused, on July 15, 2021,

 6   service of the:
 7
        DEFENDANT’S OBJECTIONS TO THE PROPOSED INTRODUCTORY JURY
 8                            INSTRUCTIONS

 9   on the following party, using the Court’s ECF system:
10
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
     I declare under penalty of perjury that the foregoing is true and correct.
12
13   Executed on July 15, 2021
14
                                             /s/ H. Dean Steward
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                                             H. Dean Steward
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